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Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 1 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 1 of 39 PageID 42

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

MARK EDWARDS, as Personal Representative of

the Estates of Ronald Bramlage, deceased; Case No:
Rebecca Bramlage, deceased; Brandon Bramlage,

deceased, Boston Bramlage, deceased, Beau Bramlage,

deceased, and Roxanne Bramlage, deceased, 8 ' \4-C\- \32\0 -| - aM AP

Plaintiff,
-VS-.

PILATUS AIRCRAFT, LTD., a/k/a Pilatus
Flugzeugweke Aktiengeselischaft, a Swiss
company doing business in the United States, COMPLAINT

& JURY DEMAND

 

 

PILATUS BUSINESS AIRCRAFT, LTD., a
Colorado corporation,

HONEYWELL INTERNATIONAL INC., individually,
and as successor to AlliedSignal Aerospace, Inc.,
and Bendix/King, a Delaware corporation,

PRATT & WHITNEY CANADA, a Canadian corporation,

ROSEMOUNT AEROSPACE, INC., d/b/a Goodrich
Sensor Systems, a Delaware Corporation,

 

 

LEACH INTERNATIONAL, a Delaware corporation, = os
DRI RELAYS, INC., a Delaware corporation, = r
GLENAIR, Inc., a California corporation, a = =
EPPS AIR SERVICE, INC., d/b/a Epps Aviation, Inc., and a2 =

MARTIN AVIATION, INC., a California corporation,

Defendants.

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Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 2 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 2 of 39 PageID 43

Plaintiff, Mark Edwards, as Personal Representative of the Estates of Ronald
Bramlage, deceased; Rebecca Bramlage, deceased; Brandon Bramlage, deceased,
Boston Bramlage, deceased, Beau Bramlage, deceased, and Roxanne Bramlage,
deceased, sues Defendants, Pilatus Aircraft, Ltd., a/k/a Pilatus Flugzeugweke
Aktiengesellschaft, (“Pilatus”), Pilatus Business Aircraft, Ltd., (PiBal), Honeywell
international Inc., individually, and as successor-in-interest to AlliedSignal Aerospace,
Inc., and Bendix/King, (“Honeywell”), Pratt & Whitney Canada (“PWC”), Rosemount
Aerospace,|nc., d/b/a Goodrich Sensor Systems (“Goodrich”), Leach International
(“Leach”), DRI Relays, Inc. (“DRI”), Glenair, inc. (“Glenair”), Epps Air Service, Inc., d/b/a
Epps Aviation, Inc., (“EPPS”) and Martin Aviation, Inc. (“Martin”), and alleges as

Follows:

 

Jurisdictional Allegations

 

1. This claim arises out of a fatal crash of a Pilatus model PC-12/47 aircraft
in Polk County, Florida on June 7, 2012.

2. This court has subject matter jurisdiction, pursuant to 28 U.S.C.A. 81332,
because the amount in controversy is in excess of the court’s seventy five thousand
dollar ($75,000.00) jurisdictional limit, excluding interests and costs and the Plaintiff is
diverse from all Defendants.

3. The action is brought pursuant to the Florida Wrongful Death Act, §768.16

et seq, for the wrongful deaths of Ronald Bramlage and Rebecca Bramlage and their

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

2
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 3 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 3 of 39 PagelD 44

four (4) minor children: Brandon Bramlage, Boston Bramlage, Beau Bramlage and
Roxanne Bramlage, (hereinafter “Bramlage family”).

4, Pursuant to the Florida Wrongful Death Act, §768.16 et seq.,’ the
survivors of decedent Ronald Bramlage are his biological parents, Bob Bramlage and
Patty Wertsberger. The survivors of decedent Rebecca Bramlage are her biological
parents, Gary and Helen Johnson.

5. Plaintiff, Mark Edwards, is the duly appointed Executor of the Estates of
the decedents, by order of the District Court of Geary County, Kansas, and has the sole
authority to bring these claims on behalf of the Estate and survivors of the Bramlage
family. Plaintiff Mark Edwards and all decedents are/were residents of the State of
Kansas.

6. Defendant Pilatus Aijrcraft, Ltd., a/k/a Pilatus Flugzeugweke
Aktiengeselischaft, (hereinafter “Pilatus”), is a foreign entity headquartered in Stans,
Switzerland and is engaged in the designing, co-manufacturing, marketing, sales and
servicing of the PC-12/47. Pilatus conducts more than $200 million in annual business
with its wholly owned U.S. subsidiary, Pilatus Business Aircraft, Ltd. Pilatus maintains

significant contacts in the United States and Florida. It applied to the Federal Aviation

 

' Additionally, should Kansas Law be deemed applicable, pursuant to K.S.A. §60-1901 et Seq.
Kansas resident Bob Bramlage and Arizona resident Patty Wertsberger is heirs-at-law for Ronald
Bramlage, Kansas residents Gary Johnson and Helen Johnson are heirs-at-law for their daughter,
Rebecca Bramlage. All four heirs-at-law for their four minor grandchildren, decedents Brandon,
Boston, Beau and Roxanne Bramlage.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

3
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 4 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 4 of 39 PageID 45

Administration (“FAA”) for a United States Type Certificate” allowing its PC-12 aircraft to
be legally operated in the United States. It also markets its aircraft in Florida, recently
advertising and sponsoring a Fixed Wing Operations Course at the 2013 Airborne Law
Enforcement Officers Association convention in Orlando, Florida. Also, since 2010, the
United States Air Force Special Operations Command at Hurlburt Field, Florida has
operated two squadrons of PC-12 under the military designation U-28A purchased
directly from Pilatus. These systematic and significant contacts within the state of
Florida give rise to Personal Jurisdiction over Pilatus in the United States and Florida.
The State of Florida and this Court have personal jurisdiction over Pilatus, pursuant to
Florida’s Long-Arm Statute, Section 48.193(1)(f)(1) and (2), Florida Statutes, because
Pilatus manufactured products outside of Florida that caused injury to persons or
property within this state and engages in substantial, and not isolated, business activity
in the State of Florida on a continuous and systematic basis.

7. Defendant Pilatus Business Aircraft Ltd., (‘PiBal”) is a corporation
organized under the laws of the state of Colorado and is a wholly owned subsidiary of
Pilatus doing business from its principal place of business in Broomfield, Colorado.

PiBal was formed to provide completions, marketing, sales and service for Pilatus in the

 

* Issued by the FAA to signify the design is airworthy and, if for an aircraft, it can be issued an
airworthiness certificate denoting strict conformance with the Type Certificate. Once issued, the
design cannot be changed. A supplemental type certificate (STC) defining a proposed
modification can be issued if it meets safety criteria and defines how the existing design is
effected. Pilatus, as the manufacturer of the Pilatus PC-12, holds FAA Type Certificate A78EU
under which it certified to the FAA that its design met specified criteria in 14 C.F.R. §§ 21.11-
53.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

4
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 5 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 5 of 39 PageID 46

United States and partially co-manufactures sixty percent of all Pilatus PC-12 model
aircraft. PiBal markets its PC-12 aircraft in Florida, recently advertising and co-
sponsoring a Fixed Wing Operations Course at the 2013 Airborne Law Enforcement
Officers Association convention in Orlando, Florida. Also, since 2010, PiBal has
supported the United States Air Force Special Operations Command’s squadrons of
PC-12 aircraft at Hurlburt Field, Florida. These systematic and significant contacts
within the state of Florida give rise to Personal Jurisdiction over PiBal in Florida. The
State of Florida and this Court have personal jurisdiction over PiBal, pursuant to
Florida’s Long-Arm Statute, Section 48.193(1)(f)(1) and (2), Florida Statutes, because
PiBal manufactured products outside of Florida that caused injury to persons or property
within this state and engages in substantial, and not isolated, business activity in the
State of Florida on a continuous and systematic basis. PiBal is subject to service at its
Colorado corporate address.

8. Defendant Honeywell International Inc., (‘Honeywell’) is a corporation
organized under the laws of the State of Delaware that produces a variety of aviation
products, services and systems for the private, public and military sectors from its
principle place of business located at 101 Columbia Road, Morristown, New Jersey.
Honeywell is the successor-in-interest to avionics manufacturers Bendix/King and
AlliedSignal. Honeywell maintains offices in Florida, including Deerfield Beach, Ft.
Lauderdale, Clearwater, Cocoa Beach, Altamonte Springs, Boynton Beach and
Aventura, and is subject to service in Florida through its Registered Agent, Corporation

Service Company, 1201 Hays Street, Tallahassee, FI. 32301. The State of Florida and

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

5
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 6 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 6 of 39 PageID 47

this Court have personal jurisdiction over Honeywell, pursuant to Florida’s Long-Arm
Statute, Section 48.193(1)(f)(1) and (2), Florida Statutes, because it manufactured
products outside of Florida that caused injury to persons or property within this state
and engages in substantial, and not isolated, business activity in the State of Florida on
a continuous and systematic basis.

9. Defendant Pratt & Whitney Canada, (“PWC”) is a Canadian aircraft engine
manufacturer which designs, markets and manufactures aircraft engines, including the
PT6A-67B engine installed in the Pilatus PC-12. PWC is a division of Pratt & Whitney
which is, itself, a division of United Technologies. PVWC’s principal place of business is
in Longueuil, Quebec, just outside Montreal. The State of Florida and this Court have
personal jurisdiction over PWC, pursuant to Florida’s Long-Arm Statute, Section
48.193(1\(f)(1) and (2), Florida Statutes, because PWC manufactured products outside
of Florida that caused injury to persons or property within this state and engages in
substantial, and not isolated, business activity in the State of Florida on a continuous
and systematic basis.

10. Defendant Rosemount Aerospace, Inc., d/b/a Goodrich Sensor Systems
(“Goodrich”) is a corporation organized under the laws of the State of Delaware that
designs and manufactures components for business aircraft from its principal place of
business in Minnesota. Goodrich manufactured the subject aircraft's Angle of Attack
transmitters, components of the de-icing system and other components. Goodrich is
subject to service through its Registered Agent, CT Corporation System. The State of

Florida and this Court have personal jurisdiction over Goodrich pursuant to Florida’s

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

6
Case 1:15-cv-00567-PAB-MJW Document 3 _ Filed 03/20/15 USDC Colorado Page 7 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 7 of 39 PageID 48

Long-Arm Statute, Section 48.193(1)(f\(1) and (2), Florida Statutes, because it
manufactured products outside of Florida that caused injury to persons or property
within this state and engages in substantial, and not isolated, business activity in the
State of Florida on a continuous and systematic basis.

11. Defendant Leach International Corporation (“Leach”) is a corporation
organized under the laws of the State of Delaware. Leach is a designer and
manufacturer of aerospace switching components used in the aerospace industry and
operates from its principal place of business in Buena Park, California. Leach is subject
to service through its Registered Agent, The Corporation Trust Company, Corporation
Trust Center, 1209 Orange St., Wilmington, Delaware 19801. The State of Florida and
this Court have personal jurisdiction over Leach pursuant to Florida’s Long-Arm Statute,
Section 48.193(1)(f)(1) and (2), Florida Statutes, because Leach manufactured products
outside of Florida that caused injury to persons or property within this state and
engages in substantial, and not isolated, business activity in the State of Florida on a
continuous and systematic basis.

12. Defendant DRI Relays, Inc. (“DRI”), is a corporation organized under the
laws of the State of Delaware. DRI is a designer and manufacturer of aerospace relay
switching components used in the aerospace industry under the trade names of “R.E.
Deutsch”, and “Deutsch Relay Inc”. DRI operates from its principal place of business at
65 Daly Road, East Northport, New York, 11731 and is subject to service through its
Registered Agent, The Prentice-Hall Corporation System, Inc., 80 State Street, Albany,

New York, 12207. The State of Florida and this Court have personal jurisdiction over

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

7
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 8 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 8 of 39 PagelD 49

DRI pursuant to Florida’s Long-Arm Statute, Section 48.193(1)(f)(1) and (2), Florida
Statutes, because DRI manufactured products outside of Florida that caused injury to
persons or property within this state and engages in substantial, and not isolated,
business activity in the State of Florida on a continuous and systematic basis.

13. Glenair Inc. (“Glenair’) is a corporation organized under the laws of the
State of California that manufactures plugs and operates from its principal place of
business at 1211 Air Way Glendale, CA 91201-2497. The State of Florida and this
Court have personal jurisdiction over Glenair, pursuant to Florida’s Long-Arm Statute,
Section 48.193(1)(f)(1) and (2), Florida Statutes, because it was a seller of new
products in the stream of commerce manufactured products outside of Florida that
caused injury to persons or property within this state. Glenair can be served through its
Registered Agent, Patrick L McGee at the corporate address.

14. Defendant Martin Aviation, Inc., (“Martin”) is a corporation organized under
the laws of the State of California that operates as an authorized Pilatus and Honeywell
service center from its principal place of business at 19300 Ike Jones Road, Santa Ana,
CA 92707. Martin, in 2011, sold new parts incorporated in the subject aircraft. The
State of Florida and this Court have personal jurisdiction over Martin, pursuant to
Florida’s Long-Arm Statute, Section 48.193(1)(f)(1) and (2), Florida Statutes, because it
was a seller of new products in the stream of commerce manufactured products outside
of Florida that caused injury to persons or property within this state. Martin is subject to
service of process through its designated Registered Agent, Mark Foster at the principal

place of business.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

8
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 9 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 9 of 39 PagelID 50

15. Defendant Epps Air Service, Inc., d/b/a Epps Aviation, Inc., (“EPPS”) is a
corporation organized under the laws of the State of Georgia that operates as an FBO
and authorized Pilatus and Honeywell service center from its principal place of business
at 1 Aviation Way, DeKalb-Peachtree Airport, Atlanta, GA 30341. Since 1996, Epps has
sold and serviced Pilatus Aircraft and is the Pilatus sales representative for Florida, and
other states. It is also an authorized service center for avionics manufacturers
Honeywell, Bendix/King, L3, and Garmin, who’s products are incorporated in the subject
aircraft. In 2012, EPPS sold new parts incorporated in the subject aircraft. The State of
Florida and this Court have personal jurisdiction over EPPS, pursuant to Florida’s Long-
Arm Statute, Section 48.193(1)(f)(1) and (2), Florida Statutes, because it was a seller of
new products in the stream of commerce manufactured products outside of Florida that
caused injury to persons or property within this state. EPPS is subject to service of
process through its designated Registered Agent, E. Patrick Epps, at its principal office.

16. Venue is proper in the Middle District of Florida, pursuant to 28 U.S.C.
§1391(b)(2) in that a substantial part of the events, acts or omissions occurred in the
Middle District of Florida.

17. Because the subject aircraft and its components were ail first sold in 2006
or later, this claim is not barred by The General Aviation Revitalization Act of 1994, §

2(a), 49 U.S.C.S. § 40101.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

9
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 10 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 10 of 39 PageID 51

 

General Allegations

 

 

PC-12/47

18. The mishap aircraft was a 2006 model year Pilatus PC-12/47, serial
number 730, bearing FAA registration N950KA and was titled in the name of Mr.
Bramlage’s business, Roadside Ventures, LLC.

19. The Pilatus PC-12/47 is a fixed-wing, turboprop, passenger and cargo
aircraft operated in the Normal Category. It was designed by Pilatus and manufactured,
in part, by Pilatus and, in part, by PiBal. The PC-12/47 received its FAA Type Certificate
A78EU in 2005.

Powerplant
20. The PC-12/47 is powered by a single PT6A-67B turboprop engine

manufactured by Defendant PWC. The engine installed in the subject aircraft was

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

10
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 11 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 11 of 39 PageID 52

manufactured as serial number PCE-PRO604. As used herein, “engine” includes any
incorporated components, including its gas generator module, power section, roiors,
rotor compressors, bearings, couplings, gears, shafts, wiring harnesses, rollers, fuel
pumps, fuel controllers, jets, compressors, rings, shafts, tubes, cables, engine mounts
and other accessories.
Electronic Flight Management System

21. N950KA’s electronic flight management system, (hereinafter “FMS’),
incorporates a number of flight control components, including its two major components:
the Electronic Flight Instrumentation System (EFIS); and Digital Flight Control System
(autopilot). As defined here, the FMS also includes any and all related hardware,
mounting hardware, servos, actuators, wires, Canon Plugs, cables, brackets, buttons,
switches and relays necessary to control the various Avionics, any electrically managed
control surfaces and the following FMS components:

a. Honeywell EFS 50 (“EFIS”): A panel mounted electronic flight and

navigation display system that receives data from the Altitude and Heading

Reference System (AHRS), stick shaker/pusher, autopilot and other systems. It

provides the pilot with a real-time visual depiction of heading (direction),

horizontal situation, (aircraft's wing leveling, banking and turns) and flight attitude

(aircraft's nose relative to the horizon).? The EFIS system also includes the

symbol generators below;

 

> The HSI also guides the pilot during Instrument Approach Procedures. This phase of flight is
not relevant to the accident. The instrument was formerly manufactured by AlliedSignal, a
predecessor of Honeywell Inc.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

il
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 12 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 12 of 39 PageID 53

b. Honeywell SG465 Forward and Aft Symbol Generators are part of the
EFIS and receives signals from the aircraft’s various systems and monitors the
system for faults to create graphic symbols on the Electronic Altitude Directional
Indicators and Horizontal Situation Indicators. In 2011, after numerous
complaints of unintentional autopilot disconnects in smooth air, Honeywell issued
Service Bulletins warning of the condition;

Cc. Honeywell KFC 325 “Autopilot” provides a three-axis digital flight contro!
system that combines autopilot and flight director computation functions. It
controls the aircraft’s pitch, yaw and trim through an electric system incorporating
servos connected to the aircraft's ailerons’ and elevators.” It includes an auto
trim system for pitch and rudder (directional) trim during yaw damper and
autopilot operation. It also tracks selected headings or to GPS navigational aids,
instrument approach procedures and can maintain, or “hold”, altitude, Indicated
Airspeed and Yaw Damp which, in enroute mode,° automatically maintains
altitude and flies a complete route using only inputs from the aircraft's GPS and
EFIS;

d. Honeywell KMC 321 Mode Controller allows the pilot to select various

navigational, altitude, attitude and directional control features of the autopilot;

 

* Ailerons are hinged flight control surfaces located on both of the aircraft’s outer wing’s trailing
edges that control roll, resulting in a change in heading.

> Elevators, like ailerons, are horizontally mounted hinged flight control surfaces located on the
tail of the aircraft that control the (nose up or nose down) attitude to either climb, descend or
maintain level altitudes.

° Formerly manufactured by Honeywell predecessor, Bendix King. The equipment is also
capable of maintaining directional and altitude guidance during Instrument Approach
Procedures. This phase of flight is not relevant to the accident.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

12
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 13 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 13 of 39 PagelD 54

e. Honeywell KCP 220 Flight Computer;

f. Honeywell KTA 336 Trim Adapters;

g. Honeywell KSA 372 Aileron Servo Actuators;
h. Honeywell KSA 372 Pitch Servo Actuator;

i. Honeywell KSA 372 Yaw Servo Actuator;

j. KSM 375 Yaw Servo Mounts;

k. KSM 375 Roll Servo Mount;

I. KSM 375 Pitch Servo Mount;

m. Electromech Technologies Aileron Trim Actuator;

n. Leach electronic relays controlling rudder trim;

O. DRI electronic relays controlling aileron trim and trim;
p. Glenair plugs and interconnectors.

Anti-Stall System
22. The PC-12 has a unique and hazardous aerodynamic and_ stall
characteristic’ that does not meet current FAA certification criteria.®
23. In Pilatus’ application for its FAA type certificate, it proposed that PC-12
aircraft be equipped with an anti-stall stick-shaker/stick-pusher system? that prevents

the aircraft from entering a stall condition.

 

7 A “stall” occurs when the wings are providing insufficient lift. If not immediately corrected
through increased speed and/or decreased angle-of-attack, the aircraft will enter into a spin.

® Under FAA Certification Standards, 14 C.F.R. 23.221, a single-engine, normal category
airplane must be able to recover from a one-turn spin or a three-second spin, whichever takes
longer, in not more than one additional turn after initiation of the first control action for recovery
and an unrecoverable spin cannot be possible.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

13
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 14 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 14 of 39 PagelD 55

24. The system includes dual angle-of-attack vanes (sensors) mounted on
probes near each wingtip that are expected to sense when the wing is approaching a
stall and two stick pusher computers. The information is transmitted, using angle-of-
attack transmitters manufactured by Goodrich, to command a stick pusher to forcefully
shake or move the control wheel forward. A failure of the system is expected to result in
a warning on the aircraft's Central Audible Warning System (CAWS).

25. If the propeller de-ice is switched “on” and the inertial separator is set to
“open” the “pusher ice” mode is active and the pilot is alerted by the CAWS, which
lowers the shaker and pusher actuation points 8° below normal angle-of-attack. If only
one of the pusher computers is set in pusher ice mode, an alert is sounded.

26. Pilatus represented to the FAA that stall risk was prevented when the PC-
12 is equipped with the system and its FAA Type Certificate requires the system.
Despite this, there have been a number of fatal PC-12 accidents involving spins that
were either caused or not prevented by the stall prevention systems.

27. The system has been the subject of two safety-related Airworthiness
Directives issued by the FAA. In 2008, the FAA issued Airworthiness Directive AD 2008-
06-17 warning of an unsafe condition pertaining to the anti-stall shaker/pusher system
of certain PC-12 models because its rear cable clamp shifts forward on the elevator
cable which reduces the effectiveness of the system and/or elevator’s movement. The

FAA issued AD 2009-05-07, effective March 30, 2009, which superseded AD 2008-06-

 

” A stick shaker alerts the pilot to a potential for an impending stall by transmitting heavy
vibrations to the stick so that the pilot can appreciate the condition and take corrective action.
The pusher forces the control yoke (stick) forward to lower the nose and increase the aircraft’s
speed to prevent an imminent stall.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

14
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 15 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 15 of 39 PagelD 56

17 and Pilatus published Service Bulletin 27-020 rev.1., which required inspection of the
stick-pusher servo-cables installation and adjustment of the stick pusher cable tension
according to a new Aircraft Maintenance Manual procedure, which introduces a higher
cable tension and accounts for cable relaxation during the assembly. These notices
were complied with prior to the compliance deadline.
Maintenance

28. Within the year immediately preceding the crash, Martin performed
substantial and relevant maintenance on the aircraft, including the replacement of parts,
and inspections of critical components. This includes the:

a. replacement of components of the pitch trim system, cargo door, Engine

Instrument System;

b. servicing and/or replacement of emergency power supply, annunciators,

Altitude and Heading Reference System (AHRS),

C. testing of the stick shaker/stick pusher system and aspects of the aircraft's

cabin pressurization system,

d. performance of the 5-year inspections required by the Pilatus

Maintenance Manual; 2000 hour inspections of the flight control cables; 100 hour

inspections of the airframe and engine; and,

e. Compliance with service bulletins pertaining to the battery, engine, and

oxygen masks.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

15
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 16 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 16 of 39 PageID 57

29. Within the year immediately preceding the crash, EPPS performed
substantial and relevant maintenance on the aircraft, including the replacement of parts,

and inspections of critical components. This includes the:

a. Pre-purchase inspection of the aircraft;

b. replacement of components of the hydraulic pump and EIS Display unit;
C. adjustment of Generator #2’s belt tension;

d. compliance with Airworthiness Directives and Service Bulletins pertaining

to the Oxygen and other systems; and,

e. performed 2012 annual inspection, 3000 hour / 1 year inspection of the
horizontal stabilizer trim runaway aural warning system and 1000 hour / 1 year
servo mount clutches.

30. The defects identified in Paragraph forty-four (44) below were present in

N950KA at the time maintenance and inspections were conducted by EPPS and Martin.

The Flight

31. The June 7, 2012 trip was a private, non-commercial, flight made pursuant
to 14 C.F.R. Part 91 from St. Lucie County International Airport (FPR) in Fort Pierce,
Florida to Freeman Field Airport in Junction City, Kansas. The Bramlage family was
returning from a trip to the Bahamas and had stopped in Fort Pierce to clear U.S.
Customs.

32. The flight from Fort Pierce was conducted under Instrument Flight Rules

(IFR) which allowed the pilot to fly solely with reference to cockpit instruments when

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

16
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 17 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 17 of 39 PagelD 58

visual contact with the ground and/or horizon is not possible or is limited, such as while
in clouds.

33. The pilot-in-command of N950KA was Decedent Ronald Bramlage, a
properly certificated, rated and current instrument pilot, who had received extensive
professional training by Simcom in the accident aircraft.

34. At about 12:06 p.m.,"° the flight departed from Ft. Pierce and, shortly
thereafter, air traffic control (“ATC”) responsibility was transferred to the FAA’s Miami
Center air traffic facility.

35. At 12:29 p.m., the flight was cleared to 25,000 feet MSL."

36. At about 12:30 p.m., ATC cleared the flight to 26,000 feet, which was
acknowledged by the pilot.

37. At about 12:32 p.m., ATC advised N950KA of a large area of precipitation
northwest of Lakeland, with moderate, heavy and extreme echoes. ATC asked the pilot
to look at it and to advise what direction he needed to deviate, then suggested deviation
right of course until North of the adverse weather. The pilot responded that he agreed.
ATC asked what heading would keep the airplane clear, and the pilot responded 320°.
ATC then cleared the pilot to fly a heading of 320°, to deviate right-of-course when
necessary and, when able, proceed direct to Seminole,” which the pilot acknowledged.

This was the final communication between the pilot and ATC.

 

'° 17:06:56 UTC. NTSB Electronic Specialists Factual Report, §2.2.2.

'' MSL denotes Mean Sea Level. Due to Florida’s low elevation, MSL altitude is typically
about the same as altitude above ground level (AGL).

2 “Seminole” is a radio navigational aid located near Tallahassee, Florida to which pilots can
navigate using on board equipment.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

17
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 18 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 18 of 39 PageID 59

38. Between 12:32:37 p.m., and 12:33:25 p.m., the flight proceeded in a west-
northwesterly direction, and climbed from 24,700 feet to about 25,100 feet.

The Crash

39. Starting at about 12:33:33 p.m., while at an altitude of about 25,181 feet
MSL, a major upset sequence commenced.

40. ‘The aircraft’s central audible warning system (CAWS), generated audible
and visual warnings indicating a number of malfunctions and conditions, including
warnings that the autopilot had disengaged, the trim control failed and the passenger
door and oxygen systems “activated.”

41. During this sequence, N950KA suddenly pitched down approximately 60°
degrees, causing the airspeed to rapidly increase from 109 knots to 338 knots as the
aircraft descended 10,000 feet in 40 seconds, a rate of approximately 35,000 feet-per-
minute. The aircraft banked as much as approximately 90°. It began to experience an
in-flight breakup causing the in-flight ejection of rear seat passenger, 13-year-old
Boston Bramlage, at altitude. The aircraft entered into a flat spin with black smoke
trailing.

42. N950KA’s 25,000 foot descent took just over 2 full minutes.

43. At about 12:35:39 p.m., the aircraft crashed near Lake Wales, Florida.
The entire Bramlage family was fatally injured in the crash. The remains of 13-year-old

Boston Bramlage were later found one-half mile from the main wreckage.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

18
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 19 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 19 of 39 PagelID 60

 

N950KA’s Defects

 

44. N950KA crashed due to a combination of the following defects:

a. the left cabin passenger door, its six shoot bolts, striking plates and door
seal failed to remain securely sealed in flight resulting in the catastrophic and
explosive loss of cabin pressurization and structural integrity;

b. the aircraft's aileron and/or rudder trim failed, eliminating yaw conirol,
aircraft attitude stability and the pilot’s ability to control the aircraft;

Cc. a run-a-way trim condition ensued that resulted in an uncommanded 50° -
90° right bank and/or 60° nose down attitude and the aircraft’s and trim system’s
instructions and procedures failed to provide pilots with adequate warnings about
those defects;

d. the electric trim’s emergency disconnects, switches, connectors and
relays simultaneously failed, which prevented the pilot from electronically
disconnecting the affected trim servos and actuators and precluded the pilot's
ability to manually arrest the aircraft's descent despite his best efforts. Additional
components of the FMS system failed to maintain or restore the aircraft’s yaw,
direction, altitude, lateral axis, vertical axis, longitudinal axis, roll axis, pitch axis,
its turn (bank) and descent rate and the aircraft’s instructions and procedures
failed to provide pilots with adequate warnings about those defects;

e. The autopilot and FMS had hazardous characteristics that rendered it
inoperable and/or incapable of preventing a stall and/or spin in certain

circumstances and failed in flight. Additionally, its instructions and procedures

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

19
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 20 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 20 of 39 PagelID 61

failed to provide pilots with adequate warnings about those characteristics and
defects;

f. components of the aircraft’s right wing structure, flaps, ailerons and their
attachment bolts failed. The left aileron, outboard section of the left wing and
wing tip, parts of the second and third sections of the right wing, right aileron and
portions of the right flap all separated in flight as did the horizontal stabilizer and
its outboard tip mass balance weight. The outboard 3 feet of the right hand
stabilizer and elevator also separated in flight. A portion of right wing leading
edge separated and struck the right-side fuselage, depressing the emergency
exit window and ripping an approximate 36-inch by 8-inch hole in the fuselage
above and below the right 2" and 3 passenger windows, resulting in a large
breach of the right fuselage;

g. the pilot was alerted through an audible CAWS warning that the aircraft's
stick shaker/stick pusher entered “pusher ice” mode indicating that only one of
the pusher computers was in pusher ice mode;

h. the angle-of-attack transmitters and anti-stall stick shaker/stick pusher
system failed to properly detect, warn transmit and correct the dangerous angle-
of-attack, airspeed or their combination so as to avoid the inadvertent and
unintentional entry into an unrecoverable stall and subsequent spin;

i. the engine failed and/or failed to develop the rated power specified in the

FAA’s Type Certificate and Pilot Operating Handbook for the given conditions,

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

20
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 21 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 21 of 39 PagelD 62

which prevented the timely introduction of the additional power requested and

needed by the pilot to timely recover from the stall;

j. the instructions, directions and warnings were defective in that they failed

to warn the pilot of circumstances in which the stick shaker/stick pusher and

autopilot systems were inoperable and/or incapable of preventing a stall or spin
condition; and,

kK. other failures and defects to be determined.

45. The defects described above were present at the time of the N950KA’s
manufacture. They were latent and unknown to Ronald Bramlage and were
undiscoverable despite reasonable inspection. However, the defects were known to the
relative manufacturers.

46. The defects above relate to the maintenance, inspections, testing and
component replacements performed by Defendants Martin and EPPS, as described in
paragraphs twenty-five (25) and twenty-six (26) above, which were latent and unknown
to Ronald Bramlage and were undiscoverable despite reasonable inspection, but known
or discoverable to the mechanics.

47. At the time of N950KA’s manufacture, the injury-causing aspects of the
aircraft, engine, FMS and stick shaker/stick pusher, were not in compliance with their
FAA Type Certificate(s) nor did the aircraft's unique and hazardous aerodynamic and
stall characteristics meet the (then) current FAA certification criteria and standards for

stall safety.

 

Bramilage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

21
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 22 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 22 of 39 PagelD 63

 

Damages

 

48. Pursuant to the Florida Wrongful Death Act, §768.16 ef seq., as a direct,
probable, foreseeable, and proximate result of the defendants’ negligence and the
defective nature of the aircraft and its components, as aforesaid and as stated below:

a. the statutory survivors of Ronald Bramlage have suffered losses for which

Defendants are responsible, including the loss of the decedent's companionship,

instruction, affection and guidance, along with mental pain and suffering as a

result of his death, which have accrued from the date of their deaths and will

continue in the future;

b. the statutory survivors of Rebecca Bramlage have suffered losses for

which Defendants are responsible, including the loss of the decedent's

companionship, instruction, affection and guidance, along with mental pain and
suffering as a result of his death, which have accrued from the date of their
deaths and will continue in the future;

Cc. the Estates of Ronald Bramlage and Rebecca Bramlage have lost the

value of their earnings with interest thereon from the date of injury to the date of

death, the value of household services and the loss lost the net accumulations
beyond death;

d. the Estate and/or Survivors of Ronald Bramlage, Rebecca Bramlage,

Brandon Bramlage, Boston Bramlage, Beau Bramlage and Roxanne Bramlage to

the extent they have incurred funeral and burial expenses;

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

22
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 23 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 23 of 39 PagelD 64

Alternatively, though not recoverable under Florida law, the following claims are
alleged if, and only if, the law of another state is deemed applicable to this matter:

é. the survivors of Brandon Bramlage, Boston Bramlage, Beau Bramlage
and Roxanne Bramlage have suffered: mental anguish; suffering, or
bereavement; loss of society; companionship, comfort, or protection; loss of
attention, advice or counsel: loss of filial care or attention and the value of the
decedents’ companionship and protection which have accrued from the date of
their deaths and will continue in the future; and/or,

f prior to their deaths, the members of the Bramlage family all sustained

severe fear, mental pain and terror in contemplation of their imminent deaths.

 

COUNT |

 

Negligence of Pilatus & PiBal

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) above, and alleges further:

49. At all material times, Pilatus and PiBal were engaged in a joint venture
and agreed to combine their resources and efforts to design, manufacture, assemble,
market and sell the PC-12/47 in the United States.

50. Under this joint venture, N950KA was designed by Pilatus and co-
manufactured by both Pilatus and PiBal.

51. As co-manufacturers, Pilatus and PiBal owed a duty of reasonable care to

the pilots and foreseeable passengers flying in their aircraft to properly design,

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

23
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 24 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 24 of 39 PageID 65

manufacture and test their aircraft: to be airworthy; to ensure that it would not fail in
foreseeable flight conditions and to have sufficient redundancy in its various systems as
to allow it to function in the event of a foreseeable failure or anomaly and to warn
foreseeable users of the limitations of the PC-12/47 and of potential defects.
52. In co-manufacturing N950KA, Pilatus Aircraft and PiBal breached their
aforementioned duties of reasonable care by failing to:
a. design, manufacture, assemble, market and test the PC-12/47 and its
incorporated components and systems in an professionally reasonable and
airworthy manner, as advertised, designed, intended and FAA Type Certificated;
b. incorporate processes, structures, systems and components that do not
fail during normal use, foreseeable conditions, foreseeable misuse, failure or
mechanical anomaly;
C. predict and prevent failures in the PC-12/47 and its incorporated
components, through proper testing and system redundancy;
d. eliminate known characteristics that render the PC-12/47 uncontrollable or
that allow inadvertent entry into unrecoverable stalls or spins;
e. incorporate an FMS that does not cause a loss of control or prevent a pilot
from an ability to interrupt or override it;
f. incorporate a safe entry system that maintains cabin pressurization;
g. incorporate a reliable engine, capable of providing the anticipated rated
power required by its FAA Type Certificate;

h. provide reasonably accurate instructions and directions;

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

24
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 25 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 25 of 39 PagelD 66

i. reasonably warn, through timely notices, warnings, Service Bulletins

and/or Airworthiness Directives, of any known limitations, anomalies, defects or

potential failures in the aircraft or incorporated systems; or about circumstances
in which unsafe conditions, failures or anomalies can occur; and,

j. otherwise design, manufacture, test, market, sell or support the PC-12/47.

53. At all material times, Pilatus and PiBal had common interests and were
acting on behalf of, and within the scope of, their joint venture.

54. In their joint venture, Pilatus and PiBal enjoyed: joint control or the right of
control; joint ownership interests in the venture; and a common right to share in their
venture’s profits and losses.

55. At all material times, Pilatus and PiBal are responsible for each other's
negligence committed while acting on behalf of, or within the scope of, the joint
venture’s business.

56. Asadirect and proximate result of the negligence of Pilatus and PiBal, as
aforesaid, the Bramlage family, their Survivors and Estates have incurred the damages
alleged in paragraph forty-eight (48) above.

WHEREFORE, Plaintiff demands judgment for damages and costs of this action

against Defendants Pilatus Aircraft and PiBal and a trial by Jury on all issues.

 

Bramiage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

25
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 26 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 26 of 39 PagelD 67

 

COUNT Il

 

Strict Liability of Pilatus & PiBal

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) and fifty (50) above, and alleges further:

57. Pilatus and PiBal entered N950KA into the stream of commerce as a new
product.

58. When it left their control NO50KA was in a defective and unreasonably
dangerous condition by nature of the defects stated in paragraph forty-four (44) above.

59. N950KA was expected to reach, and did reach, Ronald Bramlage without
substantial change in the condition in which it was first manufactured and sold and was
in substantially the same condition at the time of the crash.

60. Ronald Bramlage and his passengers were among those expected to use
the aircraft.

61. Pilatus and PiBal knew that N950KA would be used without any ability to
inspect for the hidden defects stated in paragraph forty-four (44) above, which were
neither visible nor known to Ronald Bramlage prior to the crash despite best efforts,
substantial training and a diligent pre-flight inspection but which were known to Pilatus
and PiBal, which failed to warn Mr. Bramlage.

62. Asa direct and proximate result of the defective nature of NO950KA and its
warnings, as aforesaid, the Bramlage family, their Survivors and Estates have incurred

the damages alleged in paragraph forty-eight (48) above.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

26
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 27 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 27 of 39 PagelD 68

WHEREFORE, Plaintiff demands judgment for damages and costs of this action

against Defendants Pilatus Aircraft and PiBal and a trial by Jury on all issues.

 

COUNT Ill

 

Negligence of Honeywell

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) above, and alleges further:

63. Honeywell designed, manufactured, assembled, marketed and sold the
FMS and autopilot systems described above.

64. Honeywell owed a duty of reasonable care to properly design,
manufacture and test their products; to be airworthy; to ensure that they would not fail in
foreseeable flight conditions; to have sufficient redundancy as to allow them to function
in the event of a foreseeable failure or anomaly; to provide proper instructions on their
use; and to warn of limitations and any foreseeable failures and/or defects.

65. Honeywell breached its duty to use reasonable care by failing: to
manufacture its FMS and Autopilot systems free of hazardous characteristics that
rendered them inoperable and/or incapable of preventing a stall or spin condition under
certain circumstances; to manufacture the FMS and autopilot system in an airworthy
manner, as designed, intended and as FAA Certificated: to incorporate safe and proven
components so as to prevent their causing a loss of aircraft control or run-a-way
situation that cannot be overcome or interrupted by the pilot; to predict and prevent

failures through proper testing and redundancy; and, to reasonably warn, through timely

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

27
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 28 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 28 of 39 PagelD 69

and sufficient warnings, instructions, procedures, notices, service bulletins and/or
Airworthiness Directives, of any known limitations, defects or potential failures in their
products.

66. As a direct and proximate result of the negligence of Honeywell, as
aforesaid, the Bramlage family, their Survivors and Estates have incurred the damages
alleged in paragraph forty-eight (48) above.

WHEREFORE, Plaintiff demands judgment for damages and costs of this action

against Honeywell International Inc., and demands a trial by jury on all issues triable.

 

COUNT IV

 

Strict Liability of Honeywell

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) and sixty-three (63) above, and alleges
further:

67. Honeywell entered its FMS and autopilot systems as new products into
the stream of commerce for incorporation into NO50KA.

68. When these systems left the control and custody of Honeywell, they were
in a defective and unreasonably dangerous condition by nature of the defects stated in
forty-four (44)(b)-(e) above and were in substantially the same condition at the time of
the crash as at the time of first delivery.

69. Honeywell knew its products would be used without the ability to inspect

for the hidden defects above, which were not visible or known to Ronald Bramlage prior

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

28
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 29 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 29 of 39 PagelID 70

to the crash despite a diligent pre-flight inspection, but known to Honeywell, which failed
to warn Mr. Bramlage.

70. As a direct and proximate result of the defective nature of the FMS, the
autopilot and its warnings, the Bramlage family, their Survivors and Estates have
incurred the damages alleged in paragraph forty-eight (48) above.

WHEREFORE, Plaintiff demands judgment for damages and costs of this action

against Honeywell International, Inc., and demands a trial by Jury on all issues.

 

COUNT V

 

Negligence of Pratt & Whitney Canada

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) above, and alleges further:

71. PWC designed, manufactured, assembled, marketed and sold its engine,
as described above, as a new product for incorporation into NO50KA.

72. As the manufacturer, PWC owed a reasonable duty of care to the pilots
using its engine and their foreseeable passengers to properly design, manufacture and
test its engine and components: to ensure their airworthiness; to take reasonable
precautions to ensure that the engine and components will not fail in normal conditions;
to incorporate sufficient redundancy in the event of a component failure; to provide
proper instructions and power envelopes; and to warn of limitations and any known or

foreseeable failures, defects and/or anomalies.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

29
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 30 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 30 of 39 PageID 71

73. PWC breached its aforementioned duties to use reasonable care by
failing: to design, manufacture and assemble it’s engine in an airworthy manner and as
designed, intended and as FAA Certificated; to ensure that rated power advertised, and
represented in the pilot operating handbook and FAA Type and/or Supplemental Type
Certificate(s) was available to the pilot; to incorporate safe, reliable components and
predict and prevent failures through proper testing and redundancy; and to provide
pilots with reasonably sufficient warnings, instructions, directions, limitations and
envelopes through timely notices, service bulletins and/or Airworthiness Directives, of
any known limitations, defects or potential failures in their engine; and, otherwise
design, manufacture, test, market, sell and support its engine.

74. Asa direct and proximate result of the negligence of PWC, as aforesaid,
the Bramlage family, their Survivors and Estates have incurred the damages alleged in
paragraph forty-eight (48) above.

WHEREFORE, Plaintiff demands judgment for damages and costs of this action

against Pratt & Whitney Canada, and demands a jury on all issues triable.

 

COUNT VI

 

Strict Liability of Pratt & Whitney Canada

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) and paragraph seventy-one (71) above, and

alleges further:

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

30
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 31 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 31 of 39 PageID 72

75. PWC entered its PT6A-67B engine into the stream of commerce as a new
product for incorporation into NO50KA.

76. At the time it left the control and custody of PWC, it was in a defective and
unreasonably dangerous condition by nature of the defects described in paragraph
forty-four (44)(i) above and was in substantially the same condition at the time of the
crash as at the time of first delivery by PWC.

77. PWC knew its engine would be used without any ability to inspect for the
hidden defects above, which were not visible or known to Ronald Bramlage prior to the
crash despite a diligent pre-flight inspection, but known to PWC, which failed to warn
Mr. Bramlage.

78. As a direct and proximate result of the defective nature of N950KA’s
engine and its insufficient warnings, the Bramlage family, their Survivors and Estates
have incurred the damages alleged in paragraph forty-eight (48) above.

WHEREFORE, Plaintiff demands judgment for damages and costs of this action

against Pratt & Whitney Canada, and demands a trial by Jury on all issues.

 

COUNT VII

 

Negligence of Goodrich

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) above, and alleges further:
79. Goodrich designed, manufactured, assembled, marketed and sold angle-

of-attack transmitters for incorporation into NO50KA.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

31
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 32 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 32 of 39 PagelID 73

80. As the manufacturer, Goodrich owed a reasonable duty of care to the
pilots using N950KA and their foreseeable passengers to properly design, manufacture
and test its angle-of-attack transmitters: to ensure their airworthiness; to take
reasonable precautions to ensure that the transmitters would not fail in normal
conditions; to incorporate sufficient redundancy in the event of a failure; to provide
proper instructions, and to warn of limitations and any known or foreseeable failures,
defects and/or anomalies.

81. Goodrich breached its aforementioned duties to use reasonable care by
failing to design, manufacture and assemble airworthy angle-of-attack transmitters as
designed, intended and certified by the FAA, and to reasonably warn, through timely
notices, service bulletins and/or Airworthiness Directives, of any known limitations,
defects or potential failures with the devices.

82. As a direct and proximate result of the negligence of Goodrich, as
aforesaid, the Bramlage family, their Survivors and Estates have incurred the damages
alleged in paragraph forty-eight (48) above.

WHEREFORE, Plaintiff demands judgment for damages and costs of this action

against Rosemount Aerospace, Inc, and demands a jury on all issues triable.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

32
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 33 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 33 of 39 PagelD 74

 

COUNT Vii

 

Strict Liability of Goodrich |

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) and paragraph seventy-nine (79) above, and
alleges further:

83. Goodrich entered its angle-of-attach transmitters into the stream of
commerce as a new product for incorporation into NO950KA.

84. At the time they left the control and custody of Goodrich, they were in a
defective and unreasonably dangerous condition by nature of the defects described in
paragraph forty-four (44)(g) and (h) above and were in substantially the same condition
at the time of the crash as at the time of first delivery by Goodrich.

85. Goodrich knew its angle-of-attack transmitters would be used without any
ability to inspect for the hidden defects above, which were not visible or known to
Ronald Bramlage prior to the crash despite a diligent pre-flight inspection but known to
Goodrich, which failed to warn Mr. Bramlage.

86. As a direct and proximate result of the defective nature of N950KA’s
angle-of-attack transmitters, and their insufficient warnings, the Bramlage family, their
Survivors and Estates have incurred the damages alleged in paragraph forty-eight (48)
above.

WHEREFORE, Plaintiff demands judgment for damages and costs of this action

against Rosemount Aerospace, Inc., and demands a trial by Jury on all issues

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

33
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 34 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 34 of 39 PageID 75

 

COUNT IX

 

Negligence of Martin & EPPS

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) above, and alleges further:

87. Martin and EPPS performed the maintenance, inspections and testing of
N950KA in 2011 and 2012, as described in paragraphs twenty-eight (28) through thirty
(30) above.

88. As FAA Certificated Repair Stations, Service Centers, Mechanics,
Inspectors and holders of FAA Airframe certificates, Powerplant certificates and
Inspection Authorization certificates, Martin and EPPS owed a reasonable duty of care
to the pilots using N950KA and their foreseeable passengers to properly maintain,
repair, inspect and test the aircraft, engine avionics and components, to properly comply
with Manufacturers Maintenance and Inspection guides, Service Notices, Service
Bulletins and Airworthiness Directives, and to ensure the aircraft and its components
were airworthy, complied with their relative Type Certificates and/or Supplemental Type
Certificates in a professional and workmanlike manner.

89. Martin and EPPS breached their aforementioned duties to use reasonable
care by failing to properly maintain, repair, inspect and test N950KA, its engine,
avionics and components, in accordance with the manufacturers Maintenance and
Inspection guides, Service Notices, Service Bulletins and Airworthiness Directives, and

to ensure the aircraft and its components were airworthy, complied with their relative

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

34
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 35 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 35 of 39 PageID 76

Type Certificates and/or Supplemental Type Certificates in a professional and
workmanlike manner.

90. Asa direct and proximate result of the negligence of Martin and EPPS, as
aforesaid, the Bramlage family, their Survivors and Estates have incurred the damages
alleged in paragraph forty-eight (48) above.

WHEREFORE, Plaintiff demands judgment for damages and costs of this action
against Martin Aviation, Inc., and Epps Air Service, Inc., and demands a trial by Jury on

all issues.

 

COUNT X

 

Strict Liability of Martin & EPPS

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) above, and alleges further:

91. During their maintenance and inspections, Martin & EPPS sold various
new parts and products for incorporation into N950KA.

92. To the extent that Martin and/or EPPS sold new components, they entered
the same into the stream of commerce.

93. | When they left the control and custody of Martin and EPPS, they were ina
defective and unreasonably dangerous condition by nature of the defects described in
paragraph forty-four (44) above and were in substantially the same condition at the time

of the crash as at the time of first delivery by Martin and EPPS.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

35
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 36 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 36 of 39 PagelD 77

94. Martin and EPPS knew that the parts would be used without any ability to
inspect for the hidden defects above, which were not visible or known to Ronald
Bramlage prior to the crash despite a diligent pre-flight inspection but known to Martin
and EPPS who failed to warn Mr. Bramlage.

95. Asa direct and proximate result of the defective nature of the parts sold
and installed by Martin and EPPS and _ their insufficient warnings, the
Bramlage family, their Survivors and Estates have incurred the damages alleged in
paragraph forty-eight (48) above.

WHEREFORE, Plaintiff demands judgment for damages and costs of this action
against Martin Aviation, Inc., and Epps Air Service, Inc., and demands a trial by Jury on

all issues.

 

COUNT XI!

 

Negligence of Glenair, Leach & DRI

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) above, and alleges further:

96. Leach and DRI designed, manufactured, assembled, and sold the FMS
system’s incorporated Relays that controlled various trim systems, disconnects and
their interrupts. Glenair designed, manufactured, assembled, and sold the FMS
system’s incorporated connectors and plugs.

97. As the manufacturers, Glenair, Leach and DRI owed a duty of reasonable

care to properly design, manufacture and test their products; to be airworthy; to ensure

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

36
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 37 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 37 of 39 PagelD 78

that they would not fail in foreseeable flight conditions; to have sufficient redundancy as
to allow them to function in the event of a foreseeable failure or anomaly; to provide
proper instructions on their use; and to warn of limitations and any foreseeable failures
and/or defects. Glenair, Leach and DRI breached their aforementioned duties to use
reasonable care in their design, assembly and/or manufacture of their relays by failing:
to manufacture them in an airworthy manner, as designed; intended and as FAA
Certificated; to incorporate safe and proven components so as to prevent a run-a-way
trim situation that cannot be overcome or interrupted by the pilot; to predict and prevent
failures through proper testing and redundancy; and to reasonably warn, through timely
instructions, notices, service bulletins and/or Airworthiness Directives, of any known
limitations, defects or potential failures in their products.

98. Asa direct and proximate result of the negligence of Glenair, Leach and
DRI, as aforesaid, the Bramlage family, their Survivors and Estates have incurred the
damages alleged in paragraph forty-eight (48) above.

WHEREFORE, Plaintiff demands judgment for damages and costs of this action

against Glenair, Leach and DRI, and demands a trial by jury on all issues triable.

 

COUNT XIl

 

Strict Liability of Glenair, Lynch and DRI

Plaintiff re-alleges, and incorporates by reference, the allegations contained in
paragraphs one (1) through forty-eight (48) and ninety-six (96) above, and alleges

further:

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

37
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 38 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 38 of 39 PagelID 79

99.  Glenair, Leach and DRI entered their products, as new products into the
stream of commerce for incorporation into NO50KA.

100. When their products left their control and custody, they were in a defective
and unreasonably dangerous condition by nature of the defects stated in forty-four
(44)(b)-(e) above and they were in substantially the same condition at the time of the
crash as at the time of first delivery.

101. Glenair, Leach and DRI knew their relays would be used without the ability
to inspect for the hidden defects above, which were not visible or known to Ronald
Bramlage prior to the crash despite a diligent pre-flight inspection, but known to Glenair,
Leach and DRI, which failed to warn Mr. Bramlage.

102. As a direct and proximate result of the defective nature of the plugs,
connectors and relays, and their insufficient warnings, the Bramlage family, their
Survivors and Estates have incurred the damages alleged in paragraph forty-eight (48)
above. |

WHEREFORE, Plaintiff demands judgment for damages and costs of this action

against Glenair, Leach and DRI, and demands a trial by Jury on all issues.

 

JURY DEMAND

 

Plaintiff demands a trial by jury on all triable issues alleged in this Complaint.

 

Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

38
Case 1:15-cv-00567-PAB-MJW Document 3 Filed 03/20/15 USDC Colorado Page 39 of 39
Case 8:14-cv-01326-CEH-MAP Document1 Filed 06/04/14 Page 39 of 39 PagelID 80

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Bramlage Estates v. Pilatus, et al.
Spohrer & Dodd, P.L.
COMPLAINT

39
